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                                                                              BNDDUTY,CLOSED
                               U.S. District Court
                        Southern District of Florida (Miami)
               CRIMINAL DOCKET FOR CASE #: 1:23−mj−04227−AOR−1

   Case title: USA v. MATTHEW FREDERIC BERGWALL            Date Filed: 11/09/2023

                                                           Date Terminated: 11/09/2023

   Assigned to: Magistrate Judge
   Alicia M. Otazo−Reyes

   Defendant (1)
   Matthew Frederic Bergwall         represented by Noticing FPD−MIA
   86218−510                                        305−530−7000
   YOB 2002; ENGLISH                                Email: MIA_ECF@FD.org
   TERMINATED: 11/09/2023                           LEAD ATTORNEY
   also known as                                    ATTORNEY TO BE NOTICED
   MXB                                              Designation: Public Defender Appointment
   TERMINATED: 11/09/2023

   Pending Counts                                  Disposition
   None

   Highest Offense Level (Opening)
   None

   Terminated Counts                               Disposition
   None

   Highest Offense Level
   (Terminated)
   None

   Complaints                                      Disposition
   18 U.S.C. § 371 CONSPIRACY
   TO COMMIT COMPUTER
   FRAUD; 18 U.S.C. § 149
   CONSPIRACY TO COMMIT
   MAIL FRAUD; 18 U.S.C. § 1341
   MAIL FRAUD



   Plaintiff

                                                                                               1
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   USA                                            represented by Noticing AUSA CR TP/SR
                                                                 Email: Usafls.transferprob@usdoj.gov
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: Retained

    Date Filed   # Docket Text
    11/14/2023   6   $50K 10% Bond Entered as to Matthew Frederic Bergwall Receipt # 278124. Approved
                     by Magistrate Judge Alicia M. Otazo−Reyes. Please see bond image for conditions of
                     release. (sl) (Additional attachment(s) added on 11/14/2023: # 1 Restricted Bond with
                     7th Page) (sl). (Entered: 11/14/2023)
    11/14/2023   5   Invocation of Right to Silence and Counsel by Matthew Frederic Bergwall (Taylor,
                     Kathleen) (Entered: 11/14/2023)
    11/09/2023   7   ORDER OF REMOVAL ISSUED to District of USDC for the Middle District of
                     Florida as to Matthew Frederic Bergwall. Closing Case for Defendant. Signed by
                     Magistrate Judge Alicia M. Otazo−Reyes on 11/9/2023. See attached document for full
                     details. (kan) (Entered: 11/14/2023)
    11/09/2023   4   WAIVER of Rule 5(c)(3)/Rule 40 Hearing by Matthew Frederic Bergwall. (fbn)
                     (Entered: 11/13/2023)
    11/09/2023   3   Order to Unseal as to Matthew Frederic Bergwall. Signed by Magistrate Judge Alicia M.
                     Otazo−Reyes on 11/9/2023. (fbn) (Entered: 11/13/2023)
    11/09/2023   2   Minute Order for proceedings held before Magistrate Judge Alicia M. Otazo−Reyes:
                     Initial Appearance in Rule 5(c)(3)/Rule 40 Proceedings as to Matthew Frederic Bergwall
                     held on 11/9/2023. Case is Unsealed. Bond recommendation/set: Matthew Frederic
                     Bergwall (1) STIP $50K 10%. Date of Arrest or Surrender: 11/9/2023. Written Financial
                     report due within 30 days from AFPD. Funds for bond due 11/13/23. Defendant waived
                     removal and ordered removed to the M/D FL. Defendant sworn; Attorney added:
                     Noticing FPD−MIA for Matthew Frederic Bergwall (Digital 14:15:16; 14:53:38) Signed
                     by Magistrate Judge Alicia M. Otazo−Reyes on 11/9/2023. (kan) (Entered: 11/13/2023)
    11/09/2023   1   Magistrate Judge Removal of Indictment from Middle District of Florida Case number
                     in the other District 8:23−cr−388−TPB−CPT as to Matthew Frederic Bergwall (1). (dgj)
                     (Entered: 11/09/2023)




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                                                                          Nov 9, 2023

                                                                                 Miami




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                        LTNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLOzuDA                        Nov 9, 2023

                                  TAMPA DIVISION                                  Miami


                                                   23-4227-MJ-OTAZO-REYES
     UNITED STATES OF AMERICA

                                            CASE NO.

     MATTHEW FREDEzuC BERGWALL                     18 U.S.C. $ 371
           a/k/a"MXB"                              (Computer Fraud Conspiracy)

                                                   18 U.S.C. $ 1349
                                                   (N4ail Fraud Conspiracy)

                                                   18 U.S.C. $ 1341
                                                   (Mail Fraud)

                                     INDICTMENT

           The Grand Jury charges:

                                  COIJNT ONE
                            (Computer Fraud Conspiracy)

                                  A.     Introduction

           At times material to this Indictment:

            1.    DefendantMATTHEW FREDERIC BERGWALL, a/k/a

     "MXB," was a resident of the State of Florida.

           2.     The Victim Company was a private, multinational shipping,

     receiving, and supply chain management company. The Victim Company

     served as a common carrier for hundreds of retailers all over the world,

     including those within the Middle Distria of Florida. Employee #1,




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     Employee #2, Employee #3, Employee #4, arrd Employee #5 (collectively,

     "the Victim Employees") were employees of the Victim Company. The Victim

     Company Application ("VCA") was a proprietary application used by the

     Victim Company to track pickup and delivery events during the shipment of

     merchandise.

           3.     BERGWALL gained unauthorized access to the Victim

     Employees'VCA accounts. BERGWALL and co-consphators then used these

     accounts to submit false and llaudulent tracking information, referred to

     herein as a " scan," for certain merchandise shipped by the Victim Company

     on behalf of victim-retailers located in the Middle District of Florida and

     elsewhere. This allowed BERGWALL and co-conspirators located in the

     Middle District of Florida and elsewhere to pursue full refunds from victim-

     retai.lers while maintaining physical possession of merchandise, such as high-

     end electronics, jewelry, and designer clothing and accessories. BERGWALL

     offered this service for sale, which was marketed as "FTID" (Fraudulent

     Tracking ID). The FTID fraud scheme caused nearly 10,000 fraudulent

     rerurns and resulted in more than $3.5 million in lost product and sales

     revenue to the victim-retailers.




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                                 B.     The Conspiracy

           4.     Beginning on an unknown date, but no later than on or about

     December 28, 2021, and continuing through at least on or about April 14,

     2022, rn the Middle District of Florida and elsewhere, the defendant,

                              MATTHEW BERGWALL,
                                      a/k/a"MXB,"
     did knowingly and willfully conspire and agree with others, both known and

     unknown to the Grand Jury, to commit an offense against the United States,

     that is, to knowingly cause the transmission of a program, information, code,

     and command, and as a result of such conduct, intentionally cause damage

     without authorization to a protected computer, and the offense caused and

     would, if completed, have caused loss to one or more persons during a one-

     year period and loss from a related course ofconduct affecting one or more

     protected computers, ag$egat:ulg at least $5,000 in value, in violation of 18

     u.s.c. $ 1030(a)(s)(A), (cXa)(A)(i)(D, and (c)(a)(B)(i)

                                C.    Manner and Means

           5.     The manner and means by which the conspirators sought to

     accomplish the object of the conspiracy included, among others, the following:

                  a.     It was part of the conspiracy that BERGWALL would and

     did gain unauthorized access to the Victim Company's tracking platform.


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                  b.    It was further part of the consptacy that BERGWALL

     and co-conspirators would and did order merchandise known to be shipped by

     the Victim Company from victim-retailers located in the Middle District of

     Florida and elsewhere.

                  C     It was further part of the conspiracy that BERGWALL

     and co-conspirators located in the Middle District of Florida and elsewhere

     would and did receive merchandise fiom victim-retailers that had been

     shipped by the Victim Company

                  d.    It was further part of the conspiracy that BERGWALL

     and co-conspirators would and did cause false and fraudulent information to

     be entered into the Victim Company's ftacking platform, making it appear as

     if merchandise purchased by BERGWALL and co-conspirators had been

     retumed by the Victim Company, prompting victim-retailers to issue refunds.

                  e     It was further part of the conspiracy that BERGWALL

     and co-conspirators would and did receive refunds from victim-retailers for

     merchandise that had never been retumed, and co-conspirators would and did

     pay BERGWALL a portion of these proceeds.




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                  f.     It was further part of the conspiracy that the conspirators

     would and did perform acts and make statements to misrepresent, hide and

     conceal, and cause to be misrepresented, hidden and concealed, the purpose of

     the consptacy and the acts committed in furtherance thereof.

                                    D.     Overt Acts

           6.     In furtherance of the conspirary and to effect its object,

     BERGWALL and co-consptators committed the following overt acts, among

     others, in the Middle District of Florida and elsewhere:

                  a.     On or about July 10, 2019, BERGWALL subscribed to a

     mobile phone number endiltg in -2874("Mobne Number 2874" ).

                  b.     On or about December 28.,2021, using Mobile Number

     2874, BERGWALL gained unauthorized access to Employee #l's VCA

     account.

                  c      On or about February 71, 2022, a fraudulent scan was

     submitted in relation to a $600.25 TeamGee H2O Electric Skateboard shipped

     fiom Baltimore, Maryland, to BERGWALL in Coral Gables, Florida.

                  d.     On or about February 16,2022, two Iiaudulent scans were

     submitted in relation to an$82.29 pair of Reebok shoes shipped fiom Tempe,

      Arizona, to BERGWALL in Coral Gables, Florida.



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                 e     On or about February 16 and 77, 2022, four fraudulent

     scans were submitted in relation to a $353.09 Samsung 43-inch Smart UHD

     TV shipped from Naples, Florida, to BERGWALL in Coral Gables, Florida.

                 f.    On or about February 20,2022, three ltaudulent scans

     were submitted in relation to a $600.25 TeamGee H2O Electric Skateboard

     shipped from Fresno, Texas, to BERGWALL in Coral Gables, Florida

                 g.    On or about February 16,2022, using Mobile Number

     2874, BERGWALL gained unauthorized access to Employee #2's VCA

     account.

                 h.    On or about February 23,2022, BERGWALL subscribed

     to a mobile phone number ending in -9523 ("Mobne Number 9523" ).

                       On or about February 23,2022, using Mobile Number

     9523, BERGWALL gatned unauthorized access to Employee #3's VCA

     account

                 j.    On or about March 8, 2022,usng Mobile Number 9523,

     BERGWALL gained unauthorized access to Employee #4's VCA account.

                 k.    On or about March 10, 2022., a fraudulent scan was

     submitted in relation to a$41,470 Rolex President Day-Date shipped from

     Long Island City, New York, to BERGWALL in Miami, Florida.



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                  1.     On or about March 10, 2022., usingMobile Number 9523,

     BERGWALL gained unauthorized access to Employee #5's VCA account.

                  m      On or about March 1 1, 2022, fovr fraudulent scans were

     submitted in relation to a $41 ,47 0 Rolex President Day-Date shipped from

     Long Island Ciry, New York, to BERGWALL in Miami, Florida.

           All in violation of 18 U.S.C. $ 371.

                                    COLINT TWO
                                (Mail Fraud Conspiracy)

           7.     The allegations contained in Sections A and C of Count One of

     this Indictment are incorporated by reference as though fully set forth herein.

           8.     Beginning on an unknown date, but no later than on or about

     December 28, 2021, and continuing though at least on or about April 14,

     2022, n the Middle District of Florida and elsewhere, the defendant,

                              MATTHEW BERGWALL,
                                      a/k/a"MXB,"

     did knowingly and willfully combine, conspire, confederate, and agree with

     others, both known and unknown to the Grand Jury, to commit mail fiaud, in

     violation of l8 U.S.C. $ 1341.

           All in violation of 18 U.S.C. $ 1349.




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                                     COUNT THREE
                                      (Mail Fraud)

           9.     The allegations contained in Sections A and C of Count One of

     this Indictment are incorporated by reference as though fully set forth herein.

            10. On or about February 15,2022, in the Middle District of Florida
     and elsewhere, the defendant,

                              MATTHEW BERGWALL,
                                      a/k/a"MXB,"
     for the purpose of executing or attempting to execute the above-described

     scheme and artifice to defraud, and for obtaining money and property by

     means of materially false and fiaudulent pretenses, representations and

     promises, did knowiagly cause to be delivered by a private and commercial

     interstate carrier, according to the direction thereon and at the place at which

     it was directed to be delivered by the person to whom it was addressed, a

     Samsung 43-inch Smart UHD TV.

            In violation of 18 U.S.C. $$ 1341 and 2

                                     FOR-FEITI-IRE

            1.    The allegations contained in Counts One, Two, and Three of this

     Indictment are incorporated by reference for the purpose of alleging forfeiture

     pursuanr to 18 U.S.C. $$ 98l(a)(lXc), 982(a)(2)(B), 1030(i), and 28 U.S.C

     $ 2a61(c).

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           2.        Upon conviction of a conspiracy to violate 18 U.S.C. $ 1030, in

     violation of 18 U.S.C. $ 371, the defendant shall forfeit to the United States,

     pursuant to 18 U.S.C. $ 982(a)(2)(B) and l8 U.S.C. S 1030(i), any property

     constituting, or derived from, any proceeds the defendant obtained, directly or

     indirectly, as a result of such violation, and pursuant to 18 U.S.C. $ 1030(i),

     any personal properly used or intended to be used to commit the offense

            3.       Upon conviction of a violation of 18 U.S.C. $ 1341 andlor

     conspiracy to violate 18 U.S.C. $ 1341, in violation of 18 U.S.C. $ 1349, the

     defendant shall forfeit to the United States, pursuant to 18 U.S.C. $

     981(a)(1)(C) and 28 U.S.C. $ 246l(c), any property, real or personal, which

     constitutes or is derived from proceeds traceable to the offense.

           4.        The properry to be forfeited includes, but is not limited to, a

     judgment in the amount of proceeds obtained from the offenses.

            5.       If any ofthe property described above, as a result ofany act or

     omission of the defendant:

                 a. cannot be located upon the exercise of due diligence;
                 b. has been transferred or sold to, or deposited with, a third parry;
                 C   has been placed beyond the jurisdiction of the court;

                 d. has been substantially diminished in value; or


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                e. has been commingled with other property which cannot be
                   divided without difficulty,

      the United States of America shall be entitled to forfeiture of substirute

      property under the provisions of 21 U.S.C. $ 853(p), as incorporated by 18

      u.s.c. $ e82(bx1).

                                                   A TRUE BILL,


                                                   Foreperson


      ROGERB. HANDBERG
      United States Attomey


By:
      Carlton C. Gammons
      Assistant United States Attomey


By:                  tb-;-*              'k-n-
                DesVaux Bedke
       Assistant United States Attorney
       Chief, Economic Crimes Section




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October 23                          No.

                                   UNITED STATES DISTRICT COURT
                                             Middle District of Florida
                                                 Tam Division

                                   THE UNITED STATES OF AMERICA

                                                        VS


                                   MATTHEW FREDERIC BERGWALL
                                                   a/k/a"MXB"

                                                   INDICTMENT

                                    Violations: l8 U.S.C. gg 371 and 1030 (a)(5)(A),
                                                18 U.S.C. $$ 1341, 36t, and 1349,
                                                18 U.S.C. $ 1341



                                    A true bill,


                                                   Foreperson

                                    Filed in open court this 25th day

                                    of October 2023.


                                                         Clerk



       (it,()863 525
                                    Bail $


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               AtkinsBuildingcourthouse-10th Floor                          Date:11/ /23    Time:2:0 .m.
Defendant: Matthew FredericBergwell J#:86218-510                Case#: 23-4227-MJ-0TAZO-REYES(SE D)
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ReportRE Counsel:
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                       UM TED STATES DISTRICT COURT
                       SOUTIIERN D ISTRICT OF FLORIDA
                              M IA M ID IVISION

                       CaseNo.23-4227-M J-OTAZO-REYES (SEALED)



  UM TED STA TES OF AG RICA ,
           Plaintiff,




  M atthew Frederic Bergw ell,
              Defendantts).
                          /

                                      O R D ER

        T H IS CA U SE cam e before the C ourt and pursuant to proceedings it is

  thereupon,PU R SU A N T TO Tlv A IG E ST O F TH E A B O V E N A M ED

  DEFENDANT,TH IS CA SE IS H'
                            EREBY U NSEALED .

  D O N E AN D O R D ER ED atM iam i,Florida.




  Dated:11*/23


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                              UNITED STATES DISTRICT CO URT
                              SOUTH ERN DISTRICT OF FLORIDA

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United StatesofAm erica
       Plaintiff,
     M.
                                            Charging D istrict's Case N o.


       Defendant.
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       Ihave been inform ed ofthe charges and ofm y rightsto:
       (1)     retaincounselorrequesttheassignmentofcounselifIam unabletoretaincounsel;
       (2)     anidentityhearingtodeterminewhether1am thepersonnamedinthecharges;
       (3)     production ofthewarrant,acertifiedcopy ofthewarrant,orareliableelectroniccopy of
               either'
                     ,
       (4)     apreliminary hearing within 14 daysofmy firstappearance iflam in custody and 21
               daysotherwise- unless1am indicted - to determinewhetherthere isprobable cause to
               believethatan offensehasbeen comm itted;
       (5)     ahearingon anymotionbythegovenunentfordetention;
       (6)     requesttransferofthe proceedingsto thisdistrictunderFed.R.Crim.P.20,to plead
               guilty.

       Iagreet waivemyrightsto:(checkthosethatapply)
              An identity hearing and production ofthewarrant.
           r--IA preliminaryhearing.
           I
           ---IA detentionhearingintheSouthernDistrictofFlorida.
              An identity hearing,production ofthe wanunt,and any preliminary ordetention hearing
              to which Im ay be entitled to in this district. lrequestthatthose hearingsbe held in the
              prosecuting district,ata tim e setby thatcourt.
       Iconsent to the issuance of an order requiring m y appearance in t prosecuting district where
the charges are pending againstm e.


                                                          D efen nt's Signature
oate: ,1 q          2o '
                       &
                                                          A licia M .Otazo-Reyes
                                                          U nited StatesM agistrate Judge
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                               UNITED STATESDISTRICT COURT
                               SOUTHERN D ISTRICT OF FLORIDA
                                CaseNo.23-mj-4227-OTAZO-REYES
UNITED STATES OF AM ERICA,
          Plaintiff,



M A TTHEW FRED ERICK BERG W ELL,
           Defendant.



                                      O RD ER O F R EM O V A L

       lt appearing that in the M iddle D istrict of Florida,an Indictm ent w as filed againstthe above-
named defendanton a charge ofConspiracy to Com m itCom puter Fraud,and thatthe defendantwas
arrestedintheSouthern DistrictofFloridaandwasgiven ahearingbeforeUnited StatesM agistrateJudge
AliciaM .Otazo-Reyes atM inm i,Florida,which officially com mitted the defendantforrem ovalto the
M iddle DistrictofFlorida,itisORDERED AN D ADJUDGED thatthe defendantbe removed to the
above-nam ed districtfortrialon said charge.
       And itfurtherappearingthatthedefendantwaived furtherhearing inthesaidremovalproceedings
and w as held by the M agistrate Judge A licia M .O tazo-lkeyes for rem ovaland posted bailin the am ount
of $50.000 10%       which wasapproved by theUnited StatesM agistrateJudgeAliciaM .Otazo-Reyes,
anditisfurtherORDERED thatthedefendantshallappearintheaforesaiddistrictatsuchtim esandplaces
asmay be ordered by thatDistrictCourt,in accordancewith theterm sand conditionsofaforesaid bond
fum ished by the defendant,and itisf'urtherORD ERED thatthe funds,plusinterest,w hich m ay have been
deposited on behalfofthisdefendantwith theClerk ofthe CourtunderBailReform Actbetransferred to
thedistrictwhererem oved.
       DON E AN D O RD ERED atM inm i,Florida on N ovem ber 9,2023.




                                                    A licia M .O tazo-Reyes
                                                    United States M agistrate Judge




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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                      CASE NO.      23-4227-CR-OTAZO-REYES

   UNITED STATES OF AMERICA,

         Plaintiff,
   v.

   MATTHEW FREDERIC BERGWELL,

        Defendant.
   ___________________________________________/

                        DEFENDANT=S INVOCATION OF
                      RIGHTS TO SILENCE AND COUNSEL

         The defendant named above does hereby invoke his or her rights to

   remain silent and to counsel with respect to any and all questioning or

   interrogation, regardless of the subject matter, including, but not limited

   to:   matters that may bear on or relate to arrest, searches and seizures,

   bail, pretrial release or detention, evidence at trial, guilt or innocence,

   forfeitures; or that       may    be relevant to sentencing, enhanced

   punishments, factors applicable under the U.S. Sentencing Guidelines,

   restitution, immigration status or consequences resulting from arrest or

   conviction; appeals or other post-trial proceedings.

         The Defendant requests that the United States Attorney ensure

   that this invocation of rights is honored, by forwarding a copy of it to all

   law enforcement agents, government officials, or employees associated

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   with the investigation of any matters relating to the defendant.             Any

   contact with the Defendant must be made through the defendant=s

   lawyer, undersigned counsel.

                                  Respectfully Submitted,

                                  MICHAEL CARUSO
                                  FEDERAL PUBLIC DEFENDER

                                  BY:    s/ Kate Taylor
                                        Kate Taylor
                                        Assistant Federal Public Defender
                                        Special Bar No. A5502484
                                        150 West Flagler Street
                                        Suite 1700
                                        Miami, Florida 33130-1556
                                        Tel: 305-530-7000/Fax: 305-536-4559
                                        E-Mail Address: Kate_Taylor@fd.org




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                           CERTIFICATE OF SERVICE

         I HEREBY certify that on November 14, 2023, I electronically
   filed the foregoing document with the Clerk of the Court using CM/ECF.
   I also certify that the foregoing document is being served this day on all
   counsel of record via transmission of Notices of Electronic Filing
   generated by CM/ECF or in some other authorized manner for those
   counsel or parties who are not authorized to receive electronically Notices
   of Electronic Filing.


                                               s/ Kate Taylor
                                               Kate Taylor




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(Revised03/2020)

                                  IN TED STATES D ISTRICT C OUR T
                                  SOUTH ER N DISTR ICT OF FLO RD A

                           APPEAR ANCE BON D :
                                    CASENO : z 3 - q q,r ?- lqy -oyFq.o -Kaêss
                                              .




UNITED STA TES OF AM ERICA :
                     Plaintift
                                                          USM #: S 6 2,lC-5-lO

                     Defendant,
paé< - T'
        releewt #eo c..-t&                /
1,theundersigneddefendantandIorwe,thelmdersignedsureties,jointlyandseverallyacknowledgethatweand
ourpersonalrepresentatives,jointlyandseverally,arebotmdtopaytheUnitedSàtesofAmericaathesum of
$ SO,ooo ; l& P. ls'öt
                     ,o1
                                  STAN DAR D CO N DITIO N S O F BO ND

Theconditions ofthisbond are tbatthe defendant:

    1. Shallappearbefore this Courtand atsuch other places as the defendantm ay be required to appear, in
accordance with any and a11ordersand directionsrelating to the defendant'sappearance in thiscase, including
appearance forviolation ofa condition ofthe defendant'srelease asm ay be ordered ornotified by thisCourtor
any otherU nited Su tesDistictCourtto which the defendantm ay beheld to answerorthecausetransferred. The
defendantisrequired'to ascertain 9om the Clerk ofCourtordefense counselthe tim e and place ofal1scheduled
proceedingson the case. In no eventmay a defendanl assum e thathisorhercase hasbeen dism issed unlessthe
Courthasenteredanorderofdismissal.T' iw defendantistoabidebyanyjudgmententeredin suchmatterby
surrendelingtoserveanysentenceimposedandobeyinganyorderordirectioninconnectionwithsuchjudo ent.
This is a cpntinuing bond,including any proceeding on appealorreview , which shallrem ain in fullforce and
effectuntilsuch tim e astheCourtshallorderothenvise.

   2. M ay nottraveloutside the Southern D istrictofFlorida llnless otherwise approved by the Courtpriorto
any suchtavel.TheSouthernDistrictofFloridaconsistsofthefollowing counties:Broward, Highlands,Indian
River,M artin,M inmi-Dade,M onroe,Okeechobee,Palm Beach and St. Lucie.
    3. M ay notchange his/herpresentaddress withoutpriornotification and approval9om the U .S.Probation
Officerorthe Court.

   4. M ust cooperate with 1aw enforcem ent offcers in the collection of a DN A snm ple if the collection is
required by 42 U .S.C.Section 14135a.                                                              '

    5. M ustnotviolate any federal,sàteorlocal1aw while on release in this case. Should the defendantcom e
in contactwith 1aw enforcem enthe/she shallnotify theU .S.Probation Officerw ifhin 72 hours.
;           -




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                                     SPECIA L C ON DITION S OF BO ND

ln addition to com pliance w ith the previously su ted conditions ofbond,the defendantm ust comply w ith the
specialconditionschecked below :

 -    a.Surrendera11 assportsandtraveldocument,ifany,to PretrialServicesand notobtain anytraveldocum ents
        duri
           ngthepenencyofthecase, j jj
                                     /jjg
                                       .



      b Rem rttoPretrialServicesasfollows: )asdirectedor timets)aweekinpersonand                 timets)aweekby
        telephone;
      c.Subm itto substmnce abusetesting and/ortreatm ent,contributetothe costofservicesrendered based on ability
        to pay,asdeterm ined by the U .S.Probation O fficer;
      d.Refrain 9om       excessive OR      absàin 9om alcoholuse or any lzseofa narcotic dnlg orother'contolled
        substance,asdefmedinsection102oftheConkolledSubstancesAct(2lU.S.C.j802),withoutaprescriptionby
        a licersed m edicalpractitioner;
      e.Participate in a m ent lhealth assessm entand/or treatm entand contribute to the costs of services rendered
        based on ability to pay,asdeterm ined by the U .S.Probation Officer;
      f.Employmentrestrictionts):
      g.M aintain oractively seek full-tim e em ployment'
                                                        ,
      h.M aintain orbegin an educationalprogram ;
      i.A void allconà ctwith victim s orwiO essesto the crim escharged,exceptthrough cotm sel. 'I'he AU SA shall
        provide defense counsel and pretrial services w ith the nam es of a11victim s or w io esses.The prohibition
        against contactdoes notfake effectuntildefense cotmselreceives the list.The prohibition against contact
        appliesonly tothosepersonson thelist buttheprosecutormay expandthelistby sendingwrittennoticeto
        defense counseland pretrialservices.;
      j.Avoida11contactwithco-defendantsanddefendantsinrelatedcases,exceptthroughcolmsel;
      k.Regain9om possessingaftreann,destructivedeviceorotherdangerousweaponsandshallsurrender(ifany),
        theirconcealed weaponsperm itto the U .S.Probation Office;
      1.N one ofthe signatoriesm ay sell,pledge,m ortgage,hypothecate,encum ber,etc.,any realproperty they own,
        untilthebond isdischarged,brotherwise m odified by the Court;
      m .M ay notvisitcom mercialtansportation esGblishm ent:airports,seaport/m arinas,com m ercialbusterm inals,
         train stations,etc.;'
      n. Defendant shallcorssentto the U .S.Probafon Oo cer conducting periodic urpnnounced exnm inatiorks ofthe
         defendant'scomputer equipm entatllis/herplaoe ofemploym entoron the oomputerathis/herresidence which
         may includeretrievalandcopyingofa11daà 9om thecomputerts)andany internalorextemalperipheralsto
         ensure compliance with this condition and/orrem ovalofsuch eqtlipm entforthepup ose ofconducting am ore
         thorough inspection;andcortsentatthedirection oftheU .S.Probation Om certohaveinstlledonthedefendant's
         computerts),atthedefendqnt'sexpense,anyhardwareorsoftwaresystemstomonitorthedefendnnt'scomputer
         tlse;




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    O.LO CATION M O M TORU G PR O GRA M : The defendant shall be m onitored by the form of location
      m onitoring and shallabideby al1tecbnology requirem entsasnoted below,asw ellascontribute to the costsof
      servicesrenderedbmsedon( )abilitytopayasdeterminedbytheU.S.ProbationOï cer-or- ( )paidby
     U .S.Probation;
         Location m onitodng technology atthe discretion ofthe ofticer
         RadioFrequency(1kF)monitoring(EleckonicMonitoring)
         Active GPS M onitoling
         Voice Recognition
         Curfew :You are restricted to yourresidence every day from      to     ,orasdirected by the superdsing
         of cer.
                                                       OR
         H om e Detention:You arerestricted to yourresidence atalltim esexceptfor:
         ( )medical
         ( )substanceabuseormentlhealthtreau ent
         ( )courtappearances
         ( )attorneyvisitsorcourtorderedobligations
         ( )religiousservices
         ( )employment
         ( )otheractivitiesaspre-approvedbythesupervisingofficer
-    p.RE SIDENTTAT,RE-EN TRY CENTER : The defendant shallreside at a residentialre-entry center or
       halfwayhouseandabidebyalltherulesandregulationsoftheprogrnm.Thecosttobepaidby( lprekial
       Servicesor ( )bued on the defendant'sability to pay.You are restricted to theresidentialre-entry
       center/halfway house ata1ltim esexceptfor:
       ( )employment
       ( )education
       ( )religousservices
       ( )medical,substanceabuse,ormentalhealthtreau ent
       ( )attomeyvisits
       ( )courtappearances
       ( )oourtorderedobligations
       ( )reportingtoPretialServices
       ( )other                      ----- -
-    q.Third-party Custody:                                          willserveas athird party custodian and w ill
       reportany violations ofthe release conditions to the U .S.Probation Om cer. Failure to com ply with these
       requirements,thethirdparty custodian oan be subjecttotheprovisionsof18U.S.C.j401,Contemptof
       Court.

-
     r.Thedefendantshallsubmitllisperson,propertysresidence,vehicle,papers,computers,(asdefnedin 18
       U.S.C.1030(e)(1)),othereleckoniccommunicationordaV storagedevicesormedia,oroffice,toasearch
       conducted by a Urtited States Probation Oo cer. The defendantm ustw nrn any other occupants thatthe
       premisesmaybesubjecttosearchespursuanttothiscondition.Anysearchmustbeconductedatareasonable
       timeandi.
               riaielonableiil
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                                                          DEFENDANT:     0 FZ&WfLU
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    s. M andatory Adam W alsh Conditions: Defendant shall abide by specified restrictions on personal
    associations,place of abode,or travel,to avoid allconG ctwith an alleged victim ofthe crim e and with a
    potential w itness w ho m ay testify concem ing the offense; report on a regular basis to a designated law
    enforcementagency,pretrialservicesagencyorotheragency' ,complywithaspecifiedcurfew (withelectronic
    monitoring)andrefrainfrom possessingafirearm,destructivedevibeorotherdangerousweapons.
    t.AdditionalSex Offense ConditionsForDefendantsCharged orConvicted ofa SexualOffense:
          1.    )Defendantmaynothavecontactwithvictimts),oranychildundertheageof18,tmlessapproved
                  by the Courtor allowed by theU .S.Probation Ofticer.
                )Thedefendantshallnotpossessoruseanyda< encryptiontechniqueorprogram andshall
                  provide passw ordsand adm inistrativerightsto theU .S.Probation Officer.
                ) Defendantshallparticipateinspecializedsexoffenderevaluationandtreatment,ifnecessary,
                  al'
                  . ld to contributeto the costsofservicesrendered based on ability to pay,as determ ined by
                  the U.S.Probation Office.
                )Defendantshallnotpossess,procure,purchaseorothenviseobtainanyinternetcapabledevice
                      and/orcom puter.A dditionally,the defendantisprohibited 9om using anotherindividual's
                      com puterordevice thathasinternetcapability.
                )Defendantisprohibitedfrom estxblishingormainuininganyemailaccolmtorsocialmedia
                      accotmt.Additionally,the defendahtisprohibited from usinganotherindividual'sem ailaccotmt
                      orsocialm edia accotmt.M ustprovidem onthly orupon request,personalphone and creditcard
                      billingsto PretrialServicesto confirm there areno servicesw ith any internetservicesprovider.
                )Defendantisnotpermittedtoenterplaceswherechildrencongregateincluding,butnotlimited
                      to anyplay areas,playgrounds,libraries,children-them ed resu urants,daycares,schools,
                      am usem entparks,cnrnivals/fairs,unlessapproved by the U .S.Probation Officer.
                )Thedefendantshallnotbeinvolvedinanychildren'soryouthorganizations.
          8.    ) Defendantisprohibited9om viewing,owning,orpossessinganyobscene,pomographic,or
                      sexually stimulating visualorauditory m aterial,including telephone,elecàonicm edia,
                      com ptlterProgCzm s,OrCom putcr Services.
                )Thedefendantshallpm icipateinamaintenancepolygraphexaminationtoperiodically
                  investigate the defendant'scom pliance.The polygraph exnm ination shallspecifically address
                  only defendant'scom pliance ornon-compliancew ith the specialconditionsofrelease and shall
                  notinquire into thefactsofthe pending crim inalcase againstdefendant.' Fhe defendantwill
                  contributetothecostsofservicesrendered(co-payment)basedonabilitytopayoravailability
                  ofthird partypam
                                 '
                                   ent.
-   11.. Ma
          ytraveltoandsom:Jo-v< z,-. Y rtuk , andmustnotifypretialservicesoftravelplarsbefore
  leavinganduponreturn. : j+,.h o                :0* 17+
.Zv Com pl
-     .   y w ith the follow lg additionalconditionsofbond:
          Tww pu :r4o.
                     r= r'
                         3 Te êckwwrcrktwv >                                         7A--&v'v*J .
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                                                                DEFENDANT: U YX&W*'U
                                                                CASENUMBER:l ; .-Yzz 7 ,M 5- o CW'N -##/r
                                                                PA GE FIVE


                          PENALTIESM '
                                     D SANCTIONS APPLJCM L: TO DEFENDANT
              Violation ofany ofthe foregoing conditionsofrelease m ay resultin the im m ediéte issuance ofa w arrant
        forthe defendant'sarrest,arevocation ofrelease,and orderofdetention,asprovided in 18U.S.C.j3148,
        forfeitureofanybailposted,andaprosecutionforcontemptasprovidedin 18U.S.C.9401,whichcouldresult
        in apossibleterm ofim prisonm entora fine.

               The com m ission of any offense w hile on pretzial release m ay result in an additional sentence upon
        conviction forsuch offense to a tenn ofimprisonm entofnotm ore than ten years,ifthe o/ense is a felony;ora
        tenu of hnprisonm ent of not m ore than one year, if the offense is a m isdem eanor.This sentence khall be
        consecutivetoany othersentenceandmustbe imposed inadditiontothesentencereceivedfortheoffenseitself.

               Title18U.S.C.51503makemita-felonycriminaloflknseptmishablebyimprisonmentanda$250,000fine
        tointimidateorattempttointimidateawitness,jurororoflicer.ofthecourt;18U.S.C.j1510makesitafelony
        crim inaloffenseptmishableby imprisonmentand a$250,000finetoobstructacriminalinvestigation;18U.S.C.
        j1512 makesitafelony criminalo/enseptmishableby hnprisonmentand a$250,000 fmeto tamperwith a
        witness,victim orinformant;and18U.S.C.51513makesitafelonycriminaloffensepunishablebyimprisonment
        and a$250,000finetoreGliateagainstawimess,victim orinformant,orthreaten to do so.

               ltisacliminaloffenseunder18U.S.C.53146,ifafterhavingbeenreleased,thedefendantknowingly
        failsto appear asrequired by the conditions ofrelease,orto surrenderforthe service ofsentence plzrsuantto a
        courtorder.Ifthe defendantw asreleased in connection w ith a charge of,orw hile awaiting sentence,surrender
        fortheservicr ofa sentence,orappealorcertiorariafterconviction for:

            (1)anoffensep'mishableby death,lifeimprisonment,orimprisonmentforate= offifteenyearsormore
                thedefendantshallbefinednotmorethan $250,000orimprisoned fornotmorethantenyears,orboth;
             (2)anoffenseptmishablebyimprisonmentforaterm oftiveyearsormore,butlessthanfifteenyears,the
                defendantshallbefmed notm orethan $250,000 orimprisonedfornotmorethanûveyears,orboth;
             (3)anyotherfelony,thedefendnntshallbefmednotmoreth= $250,000orimpdsonednotmorethantwo
                years,orboth;
             (4)amisdememor,tlzedefendrtshallbefmed notmorethan $100,000 orimpdsonednotmorethanone
                year,orboth.

               A term ofim prisonm entim posed forfailureto appearorsurrendershallbe consecufveto the sentenceof
        im pdsonm entforany otlwroffense.Irladdition,a failureto appearm ayresultin the fofeiture ofany bailposted,
        which m eansthatthe defendantwillbe obligated to pay the fullam ountofthe bond,which may be ee orced by
        a1lapplicable law softhe United States.




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                                PEN AT,TIES AND SANCTIO NS APPLICABLE TO SUQETIES
     Violationbythedefendantofany oftheforegoingconditionsofreleasewillresultin animmediateobligationbythesuretyorsureties
     topaythefuilamotmtofthebond.Forfeitureofthebondforanybreachofoneormoreconditionsmaybedeclaredbyajudicialoëcer
     ofanyU nitedSGtesD istrictCourthavingcognizanceoftheaboveentitledmatteratthetimeofsuchbreach,andifthebondisforfeited
     andtheforfeit ureisnotsetasideorremitted,judm entmaybeentereduponmotioninsuchUnitedSGtesDistrictCourtagainsteach
     stlretyjointlyandseverallyfortheamolmtofthebond,togetherwithinterestandcosts,andexecutionmaybeissuedandpayment
      securedasprovidedbytheFederalRulesofCrim inalProcedureandotherlaw softheUnited SVtes.
                                                          SIGN ATURES
      IhavecarefullyreadantlIlmderstandthisentireappearancebondconsistingofsevenpages,orithasbeenreadtome,and,ifnecessary,
      trnnqlatedintomynativelanguage,andJknow that1am obligatedby1aw tocomplywithallofthetermsofthisbond.Ipromisetoobey
      allconditionsofthisbond,to appearin courtasrequired,and to surrenderforserviceofany sentence imposed.Iam aware ofthe
      penaltiesandsanctionsoutlinedinthisbondforviolationsoftheterm softhebond.
      If1am an agentactingfororonbehalfofacorporatesurety,IfartherrepresentthatIam adulyauthorizedagentforthecorporatesurety
      andhaveftzllpowertoexecutethisbondintheamountsGted.


      signeduusQ day of Fovtôsbm,    o3
                                v ,20zFvs
                                        atxoa>m*
                                             x'
                                              r >T ,Florida                                                  ,
      Signedandacuowledgedbeforeme:                                  DEFENDANT:(Signature)
      m Txsss:                                                                      rdmd/'r                                 &t.
       Y%* <                           YC                                               City                                 State
             City                           'State

                                                               CORPOR ATE SURETY
      Signedthis               dayof                           ,20       at                     ,Florida
      SIJREW :                                                           AGENT:(Signature)
                                                                         PRINT NAM E:
               city                            State

                                                               IN DIVIDUAL SURETIES
       Signi thb       dayof                ,20      at          qFlo*        Signi this     dayof               ,20   at            ,Florida
       SURETY:(Signature)                                                     SURET'
                                                                                   Y:(Signatrre)
       PRN N AM E:                                                            PRINT NAM E:
       RH ,ATIONSHP TO DEFENDAN T:                                            REIATIONSO D DEFENDANT:

                      City                             State                          City                                   Sàte

       Signi tilis     dayof                ,20-     at          ,Florida Signd this         dayof               ,20   at            ,Florida
       SIJRE'I'Y:(Signamre)                                                   StRkEl7f:(Signature)
       FRN NAM E:                                                             PRINT NAM E:
       REU TIONSHIPTO DEFENDANT:                                              REIA H ONSO D DEFENDANT:

                      City                             SGte                           City                                   State
                                                          APPR OV AL BY TH E C OUR T
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    M0      Moneyorder                     #2216236003                  11/13/2023                                            $1,000.00
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UNITED STATES OF M IERICA :
                     Plaintiff,
                                                          USM #: S 6 Y lC -5-l*

                     Defendant,
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1,the undersigned defendantand 1orw e,the tmdersir ed sureties,johtlyandseverallyacknowledgethatweand
ourpersonalrepresentatives,jointlyandsevergly,arebotmdtopaytheUnitedStatesofAmericaathesllm of
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The conditionsofthisbond are thatthe defendant:

    1. Shallappearbefore this Courtand atsuch otherplaoes asthe defendantm ay be required to appear, in
accordance with any and al1ordersand directionsrelating to the defendant'sappearance in thiscase,including
appearanceforviolation ofacondition ofthedefendant'srelease asmay beordered ornotifiedbythisCourtor
arly otherUnitedStatesDistrictCourttowhich thedefendantmaybeheldtoanswerorthecausetansferred. The
defendantisrequired'to ascertain 9om ttw Clerk ofCourtor defense counselthetim e and plaoe ofa11scheduled
proceedingson the case. ln no eventm ay a defendan'tassllm e thathisorhercase hasbeen dism issed tmlessthe
Courthasenteredan orderofdismissal.T'
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sunenderingtoserveanysentenceimposedandobeyinganyorderordirectioninconnectionwithsuchjudo ent              .
Thisisa cpntinuing bond,including any proceeding on appealor review , which shallremain in fullforceand
effecttmtilsuch thue astheCourtshallorderothenvise.
   2. M ay nottraveloutsidetheSouthem DistrictofFloridaunlessotherwiseapprovedby the Courtpriorto
any such kavel. The Southern DistrictofFlorida consistsoftl)e follow ing counties: Broward, Highlands,Indian
River,M artin,M inrni-D ade,M onroe,Okeechobee, Palm Beach and St.Lucie.
   3. M ay notchange his/herpresentaddressw ithoutpriornotifcation and approval9om the U .S.Probation
Officerorthe Court.

    4. M ust cooperate with 1aw enforcem ent oo cers in the collection of a DN A snmple if the collection is
required by 42 U .S.C.Section 14135a.

    5. M ustnotviolate any federal,svte orlocallaw while on release in thiscase. Should the defendnntcom e
in contactw ith law enforcem enthe/sheshallnotify the U .S.Probation Ofscerwithin 72 holzrs.
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                                      SPECW L CON D ITIO NS O F BON D

ln addition to com pliance with the previously stated conditions of bond,the defendant m ustcom ply w ith the
specialconditionschecked below :

 -    a.Surrenderal1 assportsand taveldocum ent ,ifany,to PretrialServicesand notobtain any traveldocllm ents
        duringthepenencyofthecase, j jj/
                                       jjg
                                       .



      b ReporttoPretrialServicesasfollows: )asdirecte.dor fimets)aweekinpersonand                  timets)aweekby
        telephone;
      c.Subm itto substanceabusetesting and/ortreatm ent,contributetothe costofservicesrenderedbased on ability
        to pay,asdetennined by theU .S.Probation Officer;
      d.Refrain 9om       excessive OR     absàin 9om alcohollzseor any useofanarcoticdnzgorothercontolled
        substanoe,asdefnedinseotion102oftheConkolledSubstanoesAct(21U.S.C.j802),withoutaprescriptionby
        alicensed m edicalpractitioner;
      e.Pr icipate in a m enulhealth assessm ent and/orkeatm entand contribute to the costs of services rendered
        based on ability to pay,asdeterm ined by the U .S.Probation Officer;
      f.Employmentrestictiontsl:
      g.M ainv in oractively seek ftzll-tim e employm ent;
      h.M aintain orbegin aneducationalprogm m;
      i.Avoid allconà ctw ith victim sorwim essesto the crim escharged,excepttlzrough counsel. TheA USA shall
        provide defense counsel and pretrial services w ith the nnm es of allvictim s or witnesses.The prohibition
        againstcontact does nottnke effectuntildefense cotmselreceives the list.The prohibition againstcontct
        appliesonly to thosepersons on the list,butthe prosecutorm ay expand the listby sending w ritten noticeto
        defense counseland pretrialservices.;
      j.Avoida1lconGctwithco-defendant.sanddefendantsinrelatedcases,exceptthroughcotmsel;
      k.Refrain9om possessingaflrearm,des% ctivedeviceorotherdangerousweaponsandshallsurrender(ifanyl,
        theiz concealed w eaponspennitto the U .S.Probation Office;
      1.N one ofthe signatoriesm ay sell,pledge,m ortgage,hypothecate,encllm ber,etc.,any realproperty they own,
        tmtilthebondisdischarged,brotherwisemodifiedbytheCourq
      m .M ay notvisitcom m ercialtansportation eslblishm ent:airports,seaport/m arinas,com m ercialbusterm inals,
         t'
          rain stations,etc.;'
      m Defendantshallconsentto the U .S.Probation O o cerconducting perbdic llnannounced exnm inations of the
         defendant's computerequipm entathis/herplace ofem plom entoron the oom puterathis/herresidence which
         mayincluderetrievalandcopyingofalldata9om thecomputerts)andanyintemalorexternalperipheralsto
         ertsure com pliance w ith thiscondition and/orrem ovalofsuch equipm entforthe purpose ofconducting a more
         thorough inspection;and corlsentatthe direction oftheU .S.Probation Oë certo haveinst lled on the defendant's
         computerts),atthedefendant'sexpense,anyhardwareorsoftwaresystemstomonitortiledefendant'scomputer
         lzse;




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        O.LO CATION M O NITORG G PR O GRA M : The defendant shall be m onitored by the form of location
          m onitoring and shallabideby alltechnology requirem entsasnoted below,asw ellascontribute to the costsof
          servicesrenderedbasedon( )abilitytopayasdeterminedbytheU.S.ProbationOï cer-or- ( )paidby
         U .S.Probation;
             Location m onitoring tecbnology atthe discretion ofthe officer
             RadioFrequency(RF)monitoringt'
                                          EleckonicMonitoring)
             Active GPS M onitoring
             Voice Recognition
             Curfew :You are restricted to yourresidence every day from       to     ,orasdirected by the supervising
             oë cer.
                                                           OR
             Hom e Detention:Y ou arerestlicted to yourresidence ata1ltim esexceptfor:
             ( )medical
             ( )substanceabuseormentalhealthtrea% ent
             ( )courtappearances
             ( )attorneyvisitsorcourtorderedobligations
             ( )religiousservices
             ( )employment
             ( )otheractivitiesaspre-approvedbythesupervisingoocer
-        P.RESID EN TTAT,RE-ENTRY CENTER : '
                                           Fhe defendant shall reside at a residentialre-entry center or
           halfwayhouseand abidebyallthemlesandregulationsoftheprogram.Thecosttobepaidby( lprekial
           Servicesor ( )based on the defendant'sability topay.You areresG ctedto the residentialre-entry
           center/halfway house ata1ltim esexceptfor:
           ( )employment
           ( )education
           ( )religiotksservices
           ( )medical,substnnceablzse,ormenulhealthtreatment
           ( )attorneyvisits
           ( )courtappearances
           ( )courtorderedobligations
           ( )reportingtoPrez alServices
           ( )Other
    -    q.Third-party Custody:                                          w illserve asa third party custodian and will
           reportany violations ofthe release conditions to the U .S.Probation Officer. Failure to comply w ith these
           requirements,thethirdparty custodian canbe subjecttotheprovisionsof18U.S.C.j4û1,Contemptof
           Court.
         r.'I'
             hedefendantshallsubmitllisperson,property,residence,vehicle,papers,computers,(asdefined in 18
           U.S.C.1030(e)(1)),othereleckoniccommlmicationordatastoragedevicesormedia,oroffice,toasearch
           conducted by a United States Probation Ox cer. The defendant mustw arn any other occupants thatthe
           premisesmaybesubjecttosearchespursuanttotltiscondition.Anysearchmustbeconductedatareasonable
           timeand i.
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    s. M andatory A dam W alsh Conditions: D efendant shall abide by specified restrictions on personal
    associations,place of abode,or travel,to avoid allconu ctw ith an alleged victim ofthe crim e and with a
    potential w itness w ho m ay testify concem ing the offense; report on a regular basis to a designated law
    enforcementagency,pretrialservicesagencyorotheragency',complywithaspecifiedcudbw (withelectronic
    monitoring)andregainfrom possessingafirearm,destnlctivedeviéeorotherdangerousweapons.
    t.AdditionalSex Offense ConditionsForDefendantsCharced orConvicted ofa SexualOffense:
                )Defendantmaynothavecontactwithvictimts),oranychildundertheageof18,tmlessapproved
                  by the Courtorallowed by theU .S.Probation Officer.
                )Thedefendantshallnotpossessoruseanydataencryptionteclmiqueorprogram andshall
                  provide passw ordsand adm inistrativerightsto theU .S.Probation Officer.
                ) Defendantshallparticipateinspecializedsexoffenderevaluationandtreatment,ifnecessaz'y,
                  and to contributeto the costsofservicesrendered based on ability to pay,asdeterm ined by
                  .

                  theU .S.Probation Oftk e.
                )Defendantshallnotpossess,procure,purchaseorothenviseobtainanyintemetcapabledevice
                      and/orcom puter.A dditionally,the defendantisprohibited 9om using anotherindividual's
                      computerordevicethathasinternetcapability.
                )Defendantisprohibitedfrom establishingormainàininganyemailaccountorsocialmedia
                      accotmt.Additionally,thedefendM tisprohibited from using anotherindividual'sem ailaccount
                      orsocialm edia account.M ustprovidem onthly orupon request,personalphone and creditcard
                      billingsto PretrialSerdcesto confirm there are no servioesw ith any internetservicesprovider.
                 )Defendantisnotpermittedtoenterplaceswherechildrencongregateincluding,butnotlimited
                      to any play areas,playp olm ds,libraries,children-them ed restaurants,daycares,schools,
                      nm usem entparks,cnrnivals/faks,unlessapproved by the U .S.Probation O/ cer.
           7.    )Thedefendantshallnotbeinvolvedinanychildren'soryouthorganizations.
           8.    )Defendantisprohibitedfrom viewing,owning,orpossessinganyobscene,pomographic,or
                      sexually stim ulating visualorauditory m aterial,including telephone,elecàonic m edia,
                      computerProgrnm s,OrCom puterSeW ices.
                 )Ihedefendantshallparticipateinamaintenancepolygraph examinationtoperiodically
                  investigatethedefendnnt'scom pliance.Thepolygraph exnm ination shallspecifically address
                  only defendant's compliance ornon-com pliance with the specialconditionsofreleaseand shall
                  notinquire into the factsofthe pending crim inalcase againstdefendant.'Ihe defendantwill
                  contributetothecostsofservicesrendered(co-payment)basedonabilitytopayoravailability
                  ofthird party pam
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                                    ent.
-   u.   Maytraveltoandpom:50--G'v-. htCJJI' , andmustnotifypretrialservicesoftravelplarsbefore
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    leavinganduponreturn. s- x:s o                    ïou o*
-   v.Comply w ith the following additionalconditionsofbond:
         T ww pu :rp-xr r'; mo to-wrcrutwv 4-. 7Am-hv'v/l .
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                      PENALTIES AN D SAN CTIO N S APPLICABLE TO D EFENDAN T

           Violation ofany ofthe foregoing conditionsofreleasem ay resultin the im m ediate issuanceofa warrant
    forthedefendant'sarrest,a revocation ofrelease,and orderofdetention,asprovided in 18 U.S.C.53148,
    forfeitureofanybailposted,andaprosecutionforcontemptasprovidedin 18U.S.C.j401,whichcouldresult
    in a possibleterm ofimprisonm entora fine.

           The com m ission of any offense while on prekial release m ay result in an additional sentence upon
    conviction for such offense to a term ofimprisonm entofnotm ore than ten years,ifthe offense isa felony;ora
    term of imprisonm ent of not m ore than one year, if the offense is a m isdem eanor.This sentence shall be
    consecutivetoany othersentenceandmustbe imposed inadditiontothesentencereceivedfortheoffenseitself.

           Title18U.S.C.j1503makes'ita-felonycriminaloflknseptmishablebyimprisonmentanda$250,000fine
    tointimidateorattemptto intimidateawitness,jurororom cer.ofthecourt;18U.S.C.jl510makesitafelony
    criminaloffensepunishableby imprisonmentand a$250,000finetoobstructacriminalinvestigation;18U.S.C.
    j1512 makesitafelony criminaloFensepunishableby imprisonmentand a$250,000fmeto tamperwith a
    witness,victhnorinformant;andl8U.S.C.j1513makesitafelonycriminaloffensepunishablebyimprisonment
    anda$250,000 finetoreGliateagainstawimess,victim orinformant orthreatentodo so.

            ltisaoriminaloffenseunder18U.S.C.53146,ifafterhavingbeenreleased,thedefendantknowingly
    failsto appear asrequired by the conditionsofrelease,orto surrenderforthe service ofsentencepursuatltto a
    courtorder.lfthe defendantw asreleased in connection with a charge of,orwhile aw aiting sentence,surrender
    forthe service ofa sentence,orappealorcertiorariafter conviction for:

          (1)anofensepunishablebydeath,lifehnprisonmentorimprisonmentforaterm offifteenyearsormore
             thedefendantshallbefinednotmoreth= $250,000 orimprisoned fornotmorethanten years,orboth;
          (2)anoffenseptmishablebyimptisonmentforaterm offiveyearsormore,butlessth% fifteenyears,the
             defendantshallbefmednotmorethm4$250,000orimprisonedfornotmorethan fiveyears,orboth;
          (3)anyotherfelony,thedefendnntshallbefmednotmorethan$250,000orimpdsonednotmoreth= two
             years,orboth;
          (4)amisdemeanor,thedefendantshallbefmednotmorethan $100,000orimpdsonednotmorethanone
             year,orboth.

           A term ofhnprisonm entim posed forfailureto appearorsurrendershallbeconsecutiveto the sentence of
    impdsonm entforany otherofense.In addition,a failureto appearm ay resultin thefofeitureofany bailposted,
    which m eansthatthe defendantwillbe obligated to pay the fullam ountofthe bond,which m ay be enforced by
    a1lapplicable law softheUnited Sutes.




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                                PENAI,TIES AND SANCTION S APPLICABLE TO SURETIES
     Violationbythedefendantofanyoftheforegoing conditionsofreleasewillresultinan imm ediateobligation bythesuretyorsureties
     topaythefullamolmtofthebond.Forfeitureofthebondforanybreachofoneormoreconditionsmaybedeclaredbyajudicialoëoer
     ofanyUnitedSàtesD istrictCourthavingcognizxnceoftheaboveentitledm atteratthetim eofsuchbreach,andifthebondisforfeited
     andtheforfeitureisnotsetasideorremitted,judgmentmaybeentereduponmotioninsuchUnitedStatesDistrictCourtagainsteach
     stlretyjointlyandseverallyfortheamotmtofthebond,togetherwithlterestandcosts,andexecutionmaybeissuedandpayment
     securedasprovidedbytheFederalRulesofCrim inalProcedureand otherlawsoftheUnitedSGtes.
                                                         SIGN ATURES
     Ihavecarefullyreadand1understandthisentireappearancebondconsistingofsevenpages,orithasbeenreadtome,and,ifnecessary,
     tsnqlatedintomynativelanguage,andJ% ow that1am obligatedby1aw tooomplywithalloftheterm softhisbond.Ipromisetoobey
     a11conditionsoftitisbond,to appearin courtasrequired,and to surrenderforserviceofany sentence im posed.Iam awareofthe
     penaltiesandsanotionsoutlinedinthisbondforviolationsoftheterm softhebond.
     JfIam anagentaotingfororonbehalfofacorporatesurety,IfurtherrepresentthatIam aduly authorizedagentforthecorporatesurety
     andhavefullpowertoexecutethisbondintheamolmtstted.


      signedtusQ day of 9ovq.
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      Signedandacuowledgedbeforeme:                                  DEFENDANT:(Signature)
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                                                               CORPOR ATE SURETY
      Signedthis              dayof                            ,20     at                    ,Florida
      SURETY:                                                          AGENT:(Signature)
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              City                             State

                                                               IN DIVIDUAL SURETIES
      Signedthis      dayof                ,20     at            ,Florida Signi thk      dayof                ,20   at            .Florida
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                                     T IES AN D SM CTIO NS APPLICABLE TO SURETV S
    Violationbythedefendantofanyoftheforegoingconditionsofreleu ewillresultinanim mediateobligation bythesttretyorsureties
    topaythefullamotmtofthebond.Forfeitureofthebondforanybreachofoneormoreconditionsmaybedeclaredbyajudicialoflicer
    ofanyUnitedStztesDistrictCotu'
                                 thavinjcognizanceoftheaboveentitledmatteratthetimeofsuchbreach,andifthebondisfodbited
    andtheforfeitureisnotsetasideorremltted,judgmentmaybeentereduponmotionin suchUnited SàtesDistrictCourtagainsteach
    stlretyjointlyandseverallyfortheamountofthebond,togetherwit
                                                              .hinterestandoosts,andexecutionmaybeissuedandpam ent
    securedasprovidedbytheFederalRttlesofCriminalProcedureandotherlawsoftheUnitedSàtes.
                                                        SIGN ATURES
    IhavecarefullyreadandItmderstandthisentireappearancebondconsistingofsevenpages,orithasbeenreadtome,and,ifnecessarys
    translatedintomynativelanguage,andIknow thatIam obligatedbylaw tocomplywit. halloftheterm softltisbond.1prom isetoobey
    al1conditionsofthisbond,to appearin courtasrequired,and to surrenderforserdce ofany sentence imposed.1am awareofthe
    penaltiesandsanctionsoutlinedinthisbondforviolationsofthetermsofthebond.
    IfIam anagentaotingfororonbehalfofacorporatesurety,IfurtherrepresenttIZM Iam aduly authorizedagentfortheoorporatesurety
    andhavefullpowertoexecutethisbondintheamotmtstzted.
                                                         DEFENDAN T
    Signed tltis   j dayof foa-*                   ,2071at H%*WF ,Flori
                                                                      da                     .

    Signedandacknowledgedbeforeme:                        DEFENDANT:(Signatlzre)
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                                                   CORPOR ATE SURETY
    Signedthis              dayof                  ,20        at                  ,Florida
    SURE'I'
          Y:                                              AGENT:(Signature)
    ADDRESS:                                              PRINT NAM E:
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    Signd this      dayof           ,20   at        ,Florida Signi thts       dayof                  ,20       at     ,Fiorida
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    TELEPHONE:                                                     TELEPHONE:

     Signd this     dayof           ,20   at        .Florida Sim d tbis       dayof                  ,20       at     ,Florida
     SUREW :(Signature)                                            SURE'
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     MO         Moneyorder                                #2226236002                                 11/13/023                                                      $1,000.00
     M0         MôneyOrder                                #2216236003                                 11/13/023                                                      $1,000.00
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